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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
                                                                           Order of Continuance
                v.
                                                                                    22 Mag. 8465
 PHILIP DALLMANN,

                        Defendant.



       Upon the application of the United States of America and the affirmation of Jane Chong,

Assistant United States Attorney for the Southern District of New York, it is found that the

defendant was charged with violating Title 18 United States Code, Sections 1343 (wire fraud),

1029(a)(5) (unauthorized use of access device), and 1028A (aggravated identity theft), in a

complaint dated October 21, 2022 and was arrested on October 25, 2022;

       It is further found that the defendant was presented remotely before Magistrate Judge

Robert W. Lehrburger on October 26, 2022, and was released on bond;

       It is further found that Martin Cohen, Esq., counsel for the defendant, has been engaged in,

and is continuing, discussions concerning a possible disposition of this case with Assistant United

States Attorney Jane Chong;

       It is further found that the Government has requested a continuance of 30 days to engage

in further discussions with counsel about the disposition of this case and that the defendant, through

counsel, has consented that such a continuance may be granted for that purpose and has specifically

waived his right to be charged in an indictment or information for an additional 30 days; and

       It is further found that the granting of such a continuance best serves the ends of justice

and outweighs the best interests of the public and the defendant in a speedy trial; and therefore it

is



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       ORDERED that the request for a continuance pursuant to 18 U.S.C. § 3161(h)(7)(A) is

hereby granted until December 26, 2022, and that a copy of this Order and the affirmation of

Assistant United States Attorney Jane Chong be served by email on defense counsel by the United

States Attorney’s Office.



Dated: New York, New York
       November ___,
                 28 2022

                                           __________________________________
                                           United States Magistrate Judge
                                           Southern District of New York




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